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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )            8:11CR259
                     Plaintiff,            )
                                           )
       vs.                                 )              ORDER
                                           )
NORMAN BROWN,                              )
                                           )
                     Defendant.            )


       This matter is before the court on the oral motion of defendant Norman Brown
(Brown) for an extension of the pretrial motion deadline. The motion was made during the
arraignment on the Indictment on October 5, 2011. The government had no objection to
the motion. Brown acknowledged the additional time needed for his motion would be
excluded under the calculations under the Speedy Trial Act. The oral motion was granted.


       IT IS ORDERED:
       1.     Brown’s oral motion for an extension of time to file pretrial motions is granted.
Brown shall have to on or before November 18, 2011, in which to file pretrial motions in
accordance with the progression order.
       2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between October 5, 2011, and
November 18, 2011, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act the reason defendant's counsel requires additional
time to adequately prepare the case, taking into consideration due diligence of counsel,
and the novelty and complexity of this case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

       DATED this 5th day of October, 2011.

                                                  BY THE COURT:

                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
